Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.468 Filed 04/07/15 Page 1 of 8

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Date = *
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Kevin Jones, Manager FLINT Parts /Lafay ede freeyoh "7
BSEED Business License Center Business Name/Owner ‘ :
2 Woodward Avenue, Ste 105 BUS 200 3-—6)04+4)
CAY MC Business License |
Detroit, MI 48226 27OO Dix

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LETTER OF INTENT TO SUSPEND/REVOKE BUSINESS LICENSE

Re: Show Cause Hearing
Business License BUS 2003-0) O +}
Hearing Case No,: 14-BLC., BO

In January 2014, The Buildings, Safety Engineering and Environmental
Department, Business Mand eager etuestes that .
the Sunk Yard Dealer — 40camplon’ sus} ness

[igen see he suspended or revoked for the reasons listed in the attached
Notice to Appear, .

The City of Detroit, Buildings, Safety Enginecting and Environmental
Department BLC provided evidence that it will show proof that the business violated:

¢ Detroit City Cade Section 30-1-16(aX2)(c)(3)}- Specified criminal activity
(related to the selling and or receiving of stolen scrap metal)

® Detroit City Code Section 30-1-16(a)(2)f. That the business to be licensed,
or currently licensed by the City, constitutes @ specific hazard or threat to
the peace, health, safety or welfare of the public.

Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.469 Filed 04/07/15 Page 2 of 8

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The City of Detroit presented evidence showing that probable cause exists to
suspend or revoke the business license. Pursuant to Detroit City Code Section 30-1-17(b), the
licensee is hereby notified of the City of Detroit's intent to suspend or revoke the license for the

reasons stated,
“Ebis_matteris, hereby “scheduled fora pre-hearing conference on
CLLOLL 7 [0:30 eottor a face to face conference
Safety Erigineesifig and Environmental Department, 4/ # Coleman A, Young Municipat Center,

This matter. is hereby scheduled for «a Show Cause Hearing on

/ Detroit, Michigan 48226,

/ If the City of Detroit BSEED or the business owner requires a change of date or
time of the pre-hearing. conference or the Hearing, please contact BSEED Business License
Center at (313) 224-3179,

Please note that due to reorganization, the Buildings, Safety Engineering and
Environmental Department, Business License Center performs the function previously handled
by the Consumer Affairs Department,

Please note also that the business owner shall be present at the pre-hearing
conference and Show Cause Hearing, otherwise the business will be subject to closure.

Sincerely,

f
Kevin Jones, Manager
Business License Center

cc: Geni Gianotti, Interim Director, BSEED
City of Detroit Law Department

Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.470 Filed 04/07/15 Page 3 of 8

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2 Woopwarp Avenue, Pousti Floor
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Kevin Jones, Manager Basic facyeling Znc, Liesep Tom lins
BSEED Business License Center Business Name/Owner’ ~ c

2 Woodward Avenue, Ste 105 BUS_/9AS= OPO6/

C.A.Y.M.C Business License

Detroit, MI 48226 14201 Fullertev

Street Address
Detroit, MI 4407 2a

LETTER OF INTENT TO SUSPEND/REVOKE BUSINESS LICENSE

Re: Show Cause Hearing

Business License BUS (99S ~ COCOG |
Hearing Case No.: 14-BLC-_ & o%

In January 2014, The Buildings, Safety Engineering and Environmental
Department, Business License Center(BLC)}requested that
the serag jnow + mortal ppocessoh Business
Licenses be suspended or revoked for the reasons listed in the attached
Notice to Appear.

The City of Detroit, Buildings, Safety Engineering and Enavironmenial
Department BLC provided evidence that it will show proof that ihe business violated:

# Detroit City Code Section 30-1-16(a}(2)(c)(5)- Specified criminal activity
(related to the selling and or receiving of stolen scrap metal)

e Detroit City Code Section 30-1-16(a)(2)f. That the business to be licensed,
of currently licensed by the City, constitutes a specific hazard or threat to
the peace, health, safety or welfare of the public.

Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.471 Filed 04/07/15 Page 4 of 8

The City of Detroit presented evidence showing that probable cause exists to
suspend or revoke the business license, Pursuant to Detroit City Code Section 30-1-17(b), the
licensee is hereby notified of the City of Detroit's intent to suspend or revoke the license for the
reasons stated,

/; /, This matter is hereby scheduled. for_o pre-hearing conference on
# lOlLL ga 11} BP ant for a face to face conference, at the offices of the Buildings,

Safety Engineering and Environmental Department, 4/9 Coleman A. Young Municipal Center,
2 Woodward Ave., Detroit, Michigan 48226.

This matter is hereby scheduled for a Show Cause Hearing on
Hf: aa) 4 a7 31 OC Pat at the offices of the Buildings, Safety Engineering

and En¢ironmental Department, of Coleman Young Municipal Center, 2 Woodward Ave.,
Detroit, Michigan 48226,

If the City of Detroit BSEED or the business owner requires a change of date or
time of the pre-hearing conference or the Hearing, please contact BSEED Business License
Center at (313) 224-3179.

Please note that due to reorganization, the Buildings, Safety Engineering and
Environmental Department, Business License Center performs the function previously handled
by the Consumer Atfairs Department,

Please note also that the business owner shall be present at the pre-hearing
conference and Show Cause Hearing, otherwise the business will be subject to closure.

Sincerely,
Kevin Jonés, Manager
Business License Center

ce! Geni Gianotti, Interim Director, BSEED
City of Detroit Law Department

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Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.472 Filed 04/07/15 Page 5 of 8

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Ddte 7

Kevin Jones, Manager
BSEED Business License Center
2 Woodward Avenue, Ste 105

Business Name/Owner

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CAY MC , Business License,
Detroit, MI 48226 §35°0 Dix
Street Address.

Detroit, MIP 8 9-09 _ oe.

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LETTER OF INTENT TO SUSPEND/REVOKE BUSINESS LICENSE

sone

Re; Show Cause Hearing

Business License BUS_/99 2) 20017)
Hearing Case No.: 14-BLC+_ }

In January 2014, The Buildings, Safety Engineering and Environmental
Department, Business License Center(BLC)requested that
the SEPA ihey + mes 2 Pe e4SSO fr fi! ctr § <..
be suspended or revoked for the reasons listed ia the attached

Notice to Appear.

The City of Detroit, Buildings, Safety Engineering and Environmental
Department BLC provided evidence that it will show proof that the business violated:

e Detroit City Code Section 30-1-16(a)(2)(c)(5)- Specified criminal activity
~ (related to the selling and or receiving of stolen scrap metal)

« Detroit City Code Section 30-1-16(a)(2f. That the business to be licensed,
or currently licensed by the City, constitutes a specific hazard or threat to
the peace, health, safety or welfare of the public.

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Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.473 Filed 04/07/15 Page 6 of 8

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The City of Detroit presented evidence showing that probable cause exists to
suspend or revoke the business license, Pursuant to Detroit City Code Section 30-1-17(b), the
licensee is hereby notified of the City of Detroit's intent to suspend or revoke the license for the
reasons stated,

This matter, is hereby scheduled. for a pre-hearing conference on

“fy off hp ax _1/; 00a tor a face to face conference, at the offices of the Buildings,

Saféty Phgineering and Environmental Department, 44/§Coleman A. Young Municipal Center,
2 Woodward Ave., Detroit, Michigan 48226.

\" “\y” This_matter_ is hereby scheduled for a Show Cause Hearing on
an LRA AT do 1S” pred. at the offices of the Buildings, Safety Engineering
and Envi ual Department, 49) Coleman Young Municipal Center, 2 Woodward Ave.,

¥iichigan 48226,

J y| Detroit,
If the City of Detroit BSEED or the business owner requires a change of date or
time of the pre-hearing conference or the Hearing, please contact BSEED Business License
Center at (313) 224-3179,

Please note that due to reorganization, the Buildings, Safety Engineering and
Environmental Department, Business License Center performs the function previously handled
by the Consumer Affairs Department,

Please note also that ihe business owner shall be present at the pre-hearing

conference and Show Cause Hearing, otherwise the business will be sublect to closure.

Sincerely,

}
Kevin Jones, Manager
Business License Center

ce! Geni Gianotti, Interim Director, BSEED
City of Detroit Law Department

Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.474 Filed 04/07/15 Page 7 of 8

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Cry of Derkorr 2 Woorwarp AVESEE, Fourrh Floor

BuiLbincs, SAFETY ENGINEERING AND ENVIRONMENTAL DEPARTMENT error, MICHIGAN 48226
ADMINISTRATION ee eo ete tt ert cate ee, MAW DETRONMILGOW
March 2, 2015
Kevin Jones, Manager American Iron and Metal/ Detroit Iron
BSEED Business License Center
2 Woodward Avenue, Ste 402 BUS 1990-00271
C.ALY.M.C
Detroit, MI 48226 8350 Dix Street

Detroit, MI 48209

Re: Show Cause Hearing
Business License BUS1990-00271
Hearing Case No.: 14-BLC-021

In January 2014, The Buildings, Safety Engineering and Environmental
Department, Business License Center(BLC)requested that the_serap iron and metal
processor license at American Iron and Metal/Detroit Iron located at 8350 Dix Street be
suspended or revoked for the reasons listed in the atlached Notice to Appear.

The City of Detroit, Buildings, Safety Engineering and Environmental
Department BLC provided evidence that it will show proof that the business violated:

* Detroit City Code Section 30-1-16(a)(2)(c)(5)- Specified criminal activity
(relating to the selling and or receiving of stolen scrap metal)

© Detroit City Code Section 30-1-16(a)(1)(a)- The violation of any siate
statute or this Code.....,...4.+

» Detroit City Code Section 30-1-16(a)(2)(a)- Constitutes a public nuisance

Case 2:15-cv-11080-MOB-APP ECF No. 16-19, PagelD.475 Filed 04/07/15 Page 8 of 8

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threat to the peace, health, safety or welfare of the public.

The City of Detroit presented evidence showing that probable cause exists to
suspend or revoke the business license. Pursuant to Detroit City Code Section 30-1-17(b), the
licensee is hereby notified of the City of Detroit’s inlent 10 suspend or revoke the license for the
reasons stated,

idioceie eco T HTS WILL BE A SECOND PRE-HEARING* #44 *¥ ttt icea ie

This _rontter_is hereby scheduled for pre-hearing conference on_
Mareh 19, 2015 at 2:30 p.m. for a face to face conference, at the offices of the Buildings,

Safely Engineering and Environmental Department, 418 Coleman A. Young Municipal
Center, 2 Woodward Ave., Detroit, Michigan 48226,

This matter is hereby scheduled, for a, Show, Cause Hearing on
April 15, 2015 at 2:30 p.m. at the offices of the Buildings, Safety Engineering and
Environmental Department, 418 Coleman Young Municipal Center, 2 Woodward Ave.,
Detroit, Michigan 48226.

If the City of Detroit BSEED or the business owner requires a change of date or
time of the pre-hearing conference or the Hearing, please contact BSEED Business License
Center at (313) 224-3179,

- Please note that due to reorganization, the Buildings, Safety Engineering and
Environmental Department, Business License Center performs the function previously handled
by the Consumer Affairs Department.

Please note also that the business owner shall be present at the pre-hearing
conference and Show Cause Hearing, otherwise the business will be subject to closure.

Sincerely,

Yexporn. er
Business License Center

CC Eric Jones, Director, BSEED
City of Detroit Law Department

